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13                                UNITED STATES DISTRICT COURT

14                        FOR THE NORTHERN DISTRICT OF CALIFORNIA

15                                        OAKLAND DIVISION

16    WHATSAPP INC., a Delaware corporation,
                                        )
      and FACEBOOK, INC., a Delaware    )           Case No. 4:19-cv-07123-PJH
17    corporation,                      )
                                        )
18                    Plaintiffs,       )           PLAINTIFFS’ STATEMENT
                                        )           REGARDING DEFENDANTS’ MOTION
19           v.                         )           TO EXTEND TIME TO OPPOSE
                                        )           PLAINTIFFS’ MOTION TO COMPEL
20    NSO GROUP TECHNOLOGIES LIMITED )
      and Q CYBER TECHNOLOGIES LIMITED, )
21                                      )
                      Defendants.       )
22                                      )

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 1          On August 7, 2020, Defendants NSO Group Technologies Limited and Q Cyber

 2   Technologies Limited (together, “NSO”) filed a motion seeking to extend time for NSO’s

 3   opposition to Plaintiffs’ Motion to Compel Discovery, which is currently due on August 19, 2020.

 4   See Dkt. No. 116. Plaintiffs take no position on the request for an extension of time to oppose the

 5   Motion to Compel Discovery, and are prepared to proceed on whatever briefing schedule the Court

 6   prefers.

 7          Insofar as NSO’s motion to extend time for the opposition is predicated on arguments

 8   regarding information that NSO says it is “unable to disclose” until a protective order has been

 9   entered (see Dkt. No. 119 at 1), Plaintiffs incorporate by reference their arguments on that issue as

10   set forth in Plaintiffs’ Opposition to Defendants’ Motion to Shorten Deadlines for Motion for Entry

11   of Protective Order. See generally Dkt. No. 118. Plaintiffs continue to press NSO to complete

12   negotiations on a stipulated protective order and believe that can occur—and a protective order can

13   be entered—without need to delay proceedings on Plaintiffs’ Motion to Compel Discovery.

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     STATEMENT REGARDING DEFENDANTS’ MOTION TO EXTEND TIME TO OPPOSE PLAINTIFFS’ MOTION TO COMPEL
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         Case 4:19-cv-07123-PJH Document 121 Filed 08/11/20 Page 3 of 3




 1    Dated: August 11, 2020                      Respectfully Submitted,

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 3
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17                                                     Facebook, Inc.

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     CASE NO. 4:19-CV-07123-PJH
